USD iA United States Department of Agriculture ues anne
a Animal and Plant Health Inspection Service 215092110000416 insp_id
Inspection Report
should be kept clean and uncluttered ta prevent the harborage of pests. The trash and food wastes must be removed
and the unused equipment stored and a more appropriate designated area 16 lacilitate the pest coniral program.
Correct by August 7, 2009,
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Aug-03-2009
Received By:
Date:
Tithe: Aug-14-2009
Page 4aof 4
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                                                                                                                    Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 1 of 44
USD A United States Department of Agriculture auestanic
es Animal and Plant Health Inspection Service 924090919230950 insp_id
Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
12605 MOORES HOLLOW ADAD BOE CAND
Type: ROUTINE INSPECTION
CUMBERLAND, MD 21502 Date: Nov-20-2009
2.40 (c)
ATTENDING VETERINARIAN 4ND ADEGUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
Each dealer or exhibitor shall establish and maintain programs of adequate veterinary care that include the use of
appropriate methods to treal diseases and injuries.
“" Goats with hoot problems: Although & veterinanan has seen and diagnosed their condition, the frequancy of hoof
trims was not noted. Additionally, there is na documentation of the hoof trims. MOTE: At the time of inspection the
hooves were well trimmed. Documentation of vet care ensures a standard of care is received. Hoof trims should be
document to ensure the animals received tha established care by the veterinarian and to facilitate ihe enforcament of
the standards set forth in ihe Animal Welfare Aci. Correct by December 3, 2009,
3.125 {a} REPEAT
FACILITIES, GENERAL.




                                                                                                                           Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 2 of 44
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and ouiteor housing facilities shall be structurally sound and shall ba maintained in
good repair to protect the animals fram injury and to contain the animals.
The enclosure fence is a collection of a wire panels and some chain link ted together and constructed as follows:
The main enclosure fence is constructed of 6 gauge 20'x8" panels with 2x2 openings; 10 gauge high tensile wire with
4x4 openings are allached al the top half of the fence and 10 gauge chainlink is allached al the bottom hall. The
enclosure fence is buried into the Around atleast 2 feet inta the ground, The chaninlink fence is attached ta horizantal
poles at ihe top and bottom and held together with wire ties. Thera are vertical metal poles (1" diameter) about 10
feet, ta which the fencing is attached. The enclosure fence is attached to railroad tes placed along the bottom of the
fence on all sides. (concrete wire, metal clamps, and other quage wire is used to attached fencing together or ta
fallroad tes. The fence that makes up the left side of the enclosure pen can be moved back and forth. The lien
enclosure may not be constructed in a manner that will adequately contain the animal. The primary enclosures must
be coneiructed of such material and of such strangih as is approorate for the animal.
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Nov-20-2009
Received By:
Date:
Title: Nov-20-2009
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USD iA United States Department of Agriculture auexanneu
ae Animal and Plant Health Inspection Service 9$24090919230950 —insp id
Inspection Report
3.125 {d) REPEAT
FACILITIES, GENERAL.
Waste disposal. Provision shall be made far ihe removal and disposal of animal wastes.
“The pool in the young tiger enclosure has murky greenish brown calor due to excreta and mulch that has been kick
into ihe pool. The pool is not designed io filtar and recirculate the water. The pool is drained & refilled weakly.
Provisions for the removal of animal waste is necessary to prevent illness and the attraction of pests. A more effective
method of waste and debris removal fram the pool must be established and maintained to prevent excessive Quildup
and contamination.
3.130
WATERING.
All water receptacles shall be kept clean and sanitary,
“The drinking water for the lion is greenish in color. However, the water heater is visible in the water. Water
receptacles shall be kept clean to prevent ihe buildup of algae and reduce contamination. The water receptacle
should be cleaned and sanitized to prevent buildup of algae and ensure the animal recelves clean potable water free
of contamination. Garrect by November 21, 2009
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Nov-20-2009




                                                                                                                           Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 3 of 44
Received By:
Date:
Title: Nov-20-2009
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USD A United States Department of Agriculture auestanic
es Animal and Plant Health Inspection Service 139900342370001 — insp_id
Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: May-19-201
CUMBERLAND, MD 21502 ate: May-19-2010
3.125 {a} REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and outdoor housing facilities shall be structurally sound and shall be maintained in
good repair to protect the animals fram injury and to contain the animals.
"The enclosure fence is a collection of a wire panels and some chain link tled together and constructed as follows:
The main enclosure fence is constructed of 6 gauge 20's8' panels with 2x2 openings; 10 gauge high tensile wire with
4x4 openings are allached al the top half of the fence and 10 gauge chainlink is attached at the bottom hall. The
enclosure fence is buried into the ground at least 2 feet into the ground, The chaninlink fence is attached to horizontal




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 4 of 44
poles at ihe top and bottom and held together with wire ties. Thera are vertical metal poles (1" diameter) about 10
feet, ta which the fencing is attached. The enclosure fence is attached to railroad ties placed along the bottom of the
fence on all sides. Gancrete wire, metal clamps, and ather gauge wire is used to attached fencing together or ta
railroad thes. The fence that makes up the left side of the enclosure pen can be moved back and forth. Work has
begun on the front of the enclosure to add a kick-in at the top of the enclosure front. The lion enclosure may not be
earehucied in a manner that will adequately cantain ihe animal. The primary anclasures must ba constructed of such
material and of such strength as is appropriate for the animal,
NEW NCI SINCE LAST INSPECTION
“There is a tree in the young tiger enclasure that reaches past the too of the enclosure, through the netting. The
tree at this height could be used by a tiger to escape through the top of the enclosure. Any structures within an
anclogure that could be used for climbing or jumping must be a sufficient distance away from the sides of the
enclosure ta prevent escape. The tree must be removed to prevent escape and to protect the public, An enclosure
should be constructed so as to contain the animals. Correct by May 22, 2010.
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 May-19-2010
Received By:
Date:
Title: Jun-11-2010
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USD A United States Department of Agriculture auestanic
es Animal and Plant Health Inspection Service 278101220550091 insp_id
Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
CUMBERLAND, MD 21502 Date: Sep-29-2010
9431 {d) {1}
HANDLING OF ANIMALS.
During public exhibition, any animal must be handled so there is minimal risk of harm to the animal and to the public,
with sulli@eant distance andior barnars between the animal and tha general viewing public 50 45 (6 assure (he salaty
of animals and the public
“Squirrel Monkey: The entry door ta the indoor enclosure is covered with a corded wire mesh with 1/2 inch
Openings. The openings are wide enough to allow the squirrel monkey to put its hands through and a person to put a
finger through. An animals should be exhibited in a manner thal reduces the risk of harm to both the pubic and the
animals. A sufficient physical barrier must be installed ta minimize the risk of harm ta the animals and the public.
Gorrect by October 13, 2070.




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 5 of 44
3.125 {a} REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and ouiteor housing facilities shall be structurally sound and shall ba maintained in
good repair to protect the animals fram injury and to contain the animals.
The enclosure fence is a collection of a wire panels and some chain link ted together and constructed as follows:
The main enclosure fence is constructed of 6 gauge 20'x8" panels with 2x2 openings; 10 gauge high tensile wire with
4x4 openings are allached al the top half of the fence and 10 gauge chain link is allached al the bottom hall. The
enclosure fence is buried into the ground at least 2 feet into the ground, The chain link fence is attached to harizantal
poles at ihe top and bottom and held together with wire ties. Thera are vertical metal poles (1" diameter) about 10
feet, ta which the fencing is attached. The enclosure fence is attached to railroad tes placed along the bottom of the
fence on all sides. Gancrete wire, metal clamps, and other gauge wire is used to attached fencing together or ta
fallroad ties. The fence thal makes up the left side of the enclosure pen can be moved back and forth. Work has
begun on the front of the enclosure to add a kick-in at the top of the enclosure front. The lion enclosure may not be
carnsiucted in a manner that will adequately cantain ihe animal. The primary enclasures must ba constructed of such
material and of such strength as is appropriate for the animal,
Prepared By:
GLORIA S MCFADDEN, BD VM USDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1048 Oct-05-2010
Received By:
Date:
Title: Oct-06-2010
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USD iA United States Department of Agriculture aawestanoac
ee Animal and Plant Health Inspection Service 278101220580091 insp_id
Inspection Report
mY hile Tiger enclosure: The dividing lance batwean the hwo tiger enclosures is constructed of high tensile wire and
panel fencing. The high tensile wire is daubled around a pole 6' and covered by board fencing. The 5' panels are
attached vertically with the lower portion of the fence covered with boards. Two stands of hot wire are al the top of ihe
dividing wall. There is a 3' high platlann against the dividing fence on bath sides.
The divider lance has no kick-in or overhang. The height from the plationn to the top of the dividing fence is 12° tall.
Recent experience has shown that an adult tiger can leap over a fence that is 12° in height. This portion of the divider
fence is not sufficiently tall ar constructed in a manneér to prevent ihe animal on either side fram jumping into the ihe
next enclosure,
Also, the right enclosure walltenoe is 13° al the shortest point with a3’ 4-stranded barbed-wire kick-in. Recently
expenence has shaven that a substantial overhang or kick-in is necessary ta contain adult tigers. four strands of barb
wire is not Substantial enough to contain an anional as quick and strong as a tiger. Housing facilities must be
constructed of such material and of such strength appropriate for the animal contained within, to protect and contain
ihe animal. Based on what we know from the tiger escape in San Frances and Miami, adull tigers are sirang and
quick enough to be able to jump over a fence that is 12° high that does no have a kick-in or does mot have a kick-in
deep or wide enough to restrict the animal's ability to leap out. We can reasonably conclude that an enclosure that is
anly 12 feet tall without a significant kick-in (atleast 3 feet), and without additional containment measures, ls mot
structurally sqund enough ta contain juvenile or adult tigers.
The divider fence and the outside walls of the enclosure on the right néed ta have additional containment measures




                                                                                                                             Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 6 of 44
apolied such as increased wall height or the addition of an overhang or kick-in thal are substantial enough to contain
ine anmal,
“Siberian Tiger enclosure: Along the left wall of the enclosure, approximately 5° from the bottom, is a 7" deep ledge.
The height of the enclosure fence from the top of the ledge to the top of the enclosure is 9’. The ledge is wide
andugh 16 allow 4 tiger to gain footing and therélara does not restrict its abilily to leap oul of lhe enclosure. The lett
wall of the enclosure needs to have additional containment measures applied that are substantial enough ta contain
the animal, such as an increased wall height or raconstruction of the wall to eliminate the ledge.
3.131 (b)
SANITATION.
Sanitation of enclosures, Subsequent to the presence of an animal with an infectious or transmissible disease hard-
surlaced pens or runs or by washing all soiled surfaces wilh a delangent sdalution folkowed by a sale and ellective
disinfectant, or by cleaning all soiled surfaces with saturated live steam under pressure
“White Tiger: The lower end of the enclosure surface is damaged iin which concrete is cracked and crumbling.
““Sibenan Tigers: On left wall of the enclosure, along the bottom of the ledge, there is crumbling. The surfaces must
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Oct-05-2010
Received By:
Date:
Tithe: Oct-06-2010
Page 2of 3
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USD iA United States Department of Agriculture auexanneu
ae Animal and Plant Health Inspection Service 2781012208660091 — insp id
Inspection Report
be rendered smooth to facilitate sanitation and io prevent disease hazards, Comect by November 6, 2010
3.131 (c)
SANITATION.
Housekeeping, Premises (buildings and grounds) shall be kept clean and in good repair in order to protect the
animals trom injury and to facilitate the prescribed husbandry practices sal farih in this subpart.
“Arctic Fox: The rasting spool is in need of repair. The sides thal support the top of the spoal have several detached
planks leaving the resting spool unstable, Structures must be kept in good repair to protect the animals from injury.
The resting spool must be repaired or replace to provide a stable resting area and prevent injury to the animals.
Corrected at ihe time of the inspection.
3.131 (d)
SANITATION.
Pest control. A safe and effective program for the control of insects, ectoparasites, and avian and mammalian pests
Shall be established and maintained.
“Lemur: One live mouse was sean running info one of bve rodent holes within the enclosure. A sale and affective
program for the control mammalian pests shall be established and maintained, An effective program to contral pests
musi be established to reduce harborage and eliminate the presence of rodents. Measures were taken during the
inspection to éliminate the rodents and a regular preventive program established.
An exit brieting was conducted with the facility representative.




                                                                                                                         Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 7 of 44
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Oct-05-2010
Received By:
Date:
Tithe: Oct-06-2010
Page Sof 3
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a Animal and Plant Health Inspection Sarvice 45941706820843 insp id
Inspection Report
TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND
CustomerID: 15730
Certificaie: 51-C-0064
Sie: O01
TALSTATE 2COLOGICAL FARK OF WESTERN MARYLAND
(2605 MOORES HOLLOW ROAD _
Type; ROUTINE INSPECTION
CUMBERLAND, Mo 21502 Date: Feb-10-2011
2.131 (c) (1) REPEAT
HANDLING OF ANIMALS.
During pubic exhibition, any animal must be handled so there is minimal ris< of hanm to the animal and to the public,
with sulficent distance and‘or barriers beiween the animal and tha general viewing public so as lo assure ihe salaty
of animals and the public
“Wille Tiger: The public is abowed into ihe off-exhitit area with an attendant to view the tiger. The primary
enclosure is constructed of panel wire of gauge with wood-4' up from the floor, There is mo barrier ta prevent the
pubis Irom camming inte direct contact with the animal. A window viewing area is avaiable Irom outside the off-exhibil
area. Animals must ba exhibited in a manner (hat minimizes injurious risk tothe public and ihe animal, The public
should not be allowed to come in direct contact with @ large exotic cat and exhibil anchosures must be constructed to




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 8 of 44
prevent Such contact. A banter of sufficient distance of that would prevent the public fram coming into direct contact
with the tiger, miss be present during public exhibition of the figer.
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural cirength, The facility must bo conotrusted of auch material and of such strength os appropriate tor the
animals involved, The indoor and outdoor housing facilities shall be stracturally sound and shall be maintained in
good repairto protect the animals tram injury and to contain the animals,
"The enchsure fence is a collection of a wire panels and-some chain link led together and consinicted as follows:
The main enclosure fence & constructed of 6 gauge 20's" panels with 2x2 openings; 10 gauge high tensile wire with
4x4 oponings are attached at the top hall of ihe tence and 10 gauge chain link is allached al the bottom hall. The
enclosure fence is burned into the ground at least 2 feet into the ground, The chain link fence is attached to horizontal
poles al ihe top and bottom and held together with wire ties. Thera are vertital metal poles 71° diarnétar) aboul 10
feet, to which the fencing is attached. The enclosure fence & attached to railroad tes placed along the bottom of the
fence on allasdes. Concrete wire, metal clamps, and other gauge wire is used io attached fencing together of ta
railroad es. The fence that makes up the left side of the enclosure pen can se moved back ard forth. Work has
Prepared By:
GLORIA S MOFADDEN, BV MM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Feb-14-2011
Received Ey:
a Date:
Tithe: Feb-16-2011
Page tof 3
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USD Ay United States Deparment of Agriculture pia:
eal Animal and Plant Health Inspection Service 45111706520343 insp_id
Inspection Report
begun on the front of the enctosure to add a kick-in at the top of the enclosure front, The lion enclosure may not be
constructed in a manner hat will adequately contain ihe animal. The primary enclosures must be constructed of such
matenal and of such strength as is appropriate for the animal
““"Wihile Tiger enclosure: The dividing lence batween ihe Iwo tiger enclosures is constructed of high tensile wire and
panel fencing. The high tensile wire is toubled arqund 4 pole 6’ aind covered by board fencing. The 5’ panels are
attached vertically with the jower porion af the fence covered with boards. Two stands of hot wire are al the top of the
dividing wall. There is a3’ high platlonn against ihe dividing fence on bath sides,
The diveder fence has no kick-in or overhang: The height from the plattorm to the top of the dividing fence & 12° tall
Recent expenence hes shown that an adult tiger can leap over a fence thatis 12 in height. This portion of the divider
fenceis not sufficiently tall or constructed in-a manner bo prevent the animal on either side from jumping into the the
next enclosure,
Also, the right enclosure walltence is 13° at the shortest point with a3 4-stranded barbed-wire kick-in, Recently
expenence has shown thal a substantial overhang of keck-in i nesessary bo contain advil tigers. four strands of barb
wire is not substantial enough to contain an animal as quick and strong as a tiger. Housing facilities must be
constructed of such material and of such strengin appropriate for the animal contained within, ta protect and cantain
the animal. Based on what we kriow from the liger escape in San Princes and Miami, adull tigers are strong and
quick enough to be able to jump over a fence that 12" high that does no have a kick-lin or does nat havea Kack-in
deep or wide enough bo restrict (he animal's ability to leap oul. We can reasonably conclude that an enclosure thal is




                                                                                                                             Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 9 of 44
only 12 feet tal without 2 significant Rick-in (at least 3 feet), and without additional oontainment measures, is moi
structurally Sound enough to contain juvenile or adult tigers.
The divider fence and the outside walls of the enclosure on the right need to have additional containment measures
apphed such as increased wall height of the addition of an overhang or kiek-in thalare substantial enough to contain
the animal,
““slberaan Tiger enctosure: Along ihe left wall of the enchosure, approximately 5' from ihe bottom, is a?" deep ledge.
The height of the enclosure tence from the top of the ledge to the top of the enchosure ts 9. The ledge is wide
enough to allow a tiger to gain footing and therefore does nol restrict its ability to leap out of the enctosure. The left
wall of the enclosure needs to have additional containment measures applied that are substantial enough to contain
ihe animal, such as an increased wall height arraconstructon of the wall to eliminate the ledge.
43,131 (b} REPEAT
SANITATION,
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease hand-
surlaced pens. or runs of by washing all soiled surfaces with a detergent solution followed by a sale and effective
disinfectant, or by cleaning afl soiled surfaces with saturaicd live steam under pressure
Prepared By:
GLORIAS MCFADDEN,DVM USDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1045 Feb-14-2011
Received By:
mT Cana ; Date:
Tithe: Feb-16-2011
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= Animal and Plant Health Inspection Service 45911706520343 — insp_id
Inspection Report
“While Tiger: The lower end of tha enclosure surface is damaged in which concrete is cracked and crumbling.
“Siberian Tigers: On left wall of the enclosure, along the bottom of the ledge, there is crumbling. The surfaces must
be rendered smooth to facilitate sanitation and to prevent digaase hazards.
An eit briefing was conducted with the licensee.
Prepared By:
GLORIA S MCFADDEN, CO VM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDIGAL OFFICER Inspector 1046 Feb-14-2011
Received By:
im} cap meee Date:
Title: Feb-18-2011
Pages Sof 3
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USD iA United States Deparment of Agriculture
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= Animal and Plant Health Inspection Service 160710044300042 nap id
Inspection Report
TRI STATE Z200LGG ICAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site 001
TAI STATE ZOOLOGICAL PARK OF WESTERN MAFIYLAND
12605 MOCRES HOLLOW ADAD
Type: ROUTINE INSPECTION
CUMBERLAND, MD 21502 Pate: Jun-Gs-2011
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and outdoor housing facilities shall be structurally sound and shall be maintained in
good repair to protect the animals from injury and to contain the animals.
“Lien enclosure: The enclosure lance is a callaction of a wire panels and same chain link tid tageihear and
constructed as follows
The main enclosure fence is constructed of 6 gauge 20'x8" panels with 2x2 openings; 10 gauge high tensile wire with
4x4 openings are attached at the top half of the fence and 10 gauge chain link is attached at the bottam hall. Tha




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 11 of 44
enclosure fence is burbed into the ground at least 2 feet into the ground. The chain link fence is attached to horizontal
poles at the top and bottom and held tagether with wire ties. There are vertical metal poles (1" diameter) about 10
leet, lo which the fencing is allached. The enclosure fence i¢ allached to railroad ties placed along the bottom of the
fence on all sides, Gancrete wire, metal clamps, and other gauge wire is used to attached fencing together or to
railroad ties. Thea fence that makes up the left side of the anclosure pen can be moved back and forth. The front of the
enclosure has a 3 foot kick-in of high tensile (field fence) wire and barbed wire. The lion enclosure may nat be
constructed ina manner that will adequately contain the animal. The primary enclosures must be constructed of such
Material and of such strangth 25 is appropriate for the animal.
“White Tiger enclosure: The dividing fence between ihe two tiger enclosures is constructed of high tensile wire and
panel fancing. The high tensile wire is doubled around 4 pole 6' and covered by board fencing. The 5’ panels are
attached vertically with the lower portion af the tence covered with boards. Two stands af hot wire are at the top of the
dividing wall. There is a 3° high platiorm against the dividing fence on bath sides.
The divider fence has no kick-in or overhang. The height from the platform to the top of the dividing fence is 12" tall
Recent experience has shown that an adult tigar can leap over a fence that is 12° in height. This portion of the divider
fenee is not sufficiently tall or constructed in a manner to prevent the animal on either side fram jumping inte the the
next enchosure,
Recently experence has shown that a substantial overhang or kick-in is necessary to contain adult tigers.
Prepared By:
GLORIA S MCFADDEN, BV M USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Jun-9-2001 41
Received By:
Date:
Title: Jun-08-2011
Page lof é
Inspection Repott Explanation: http: /www.aphis.usds ahitnal_velfate/dovhloads /IR_Explanation.p df
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USD iA United States Deparment of Agriculture qucrantes
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Inspection Report
four strands of barb wire is mat substantial enough to cantain an animal as quick and strong as a tiger. Housing
facilities must be constructed of such maternal and of such strangth aporopriate for the animal contained within, to
protect and contain the animal. Based on whal we Know from the tiger escape in San Francisco and Miami, adult
tigers are strong and quick enough to be able to jump over a fence that is 12’ high that does no have a kick-in or does
not have a kick-in deep or wide enough to resinct (ha animal's abdity to leap out. We can reasonably conclude that
an enclosure that is only 12 feet tall without a significant kick-in (at least 3 feet), and without additional containment
Measures, 15 mot structurally sound enough to contain juvenile or adult tigers.
The divider fence and the outside walls of the enclosure on the right need to have additional containment measures
applied such as increased wall height of the addition of an overhang or kick-in that are substantial enough ta contain
ihe animal.
“Siberian Tiger enclosure: Along the left wall of ihe enclosure, approximately 5° from the floor of the enclosure at the
highest point and ~10° from the overhang, there is a 7" deep ledge. The ledge is wide enough to allow a tiger to gain
fading and therelore doas mat restrict its ability to leap out of (he enclosure. The left wall of the enclosure must have
additional containment measures applied that ane substantial enough to cantain the animals. Modifications to the
enclosure that increased the height of the left enclosure fence are under review,
3.1391 (b) REPEAT
SANITATION.
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease hard-




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sura@ced pens or runs or by washing all soiled surfaces with 4 detargent solution followed by a sate and etective
disinfectant, or by cleaning all solled surfaces with saturated live steam under pressure.
"White Tiger: The lower end of the enclosure concrete surface has cracks in the concreta.
“Siberian Tigers (yaung): The concrete surfaces of the floor of the enclosure has cracks in ihe concrete.
“siberian Tigers (older): On the leit wall af the enclosure, along the bottom of the ledge, the concrete surface is
damaged in same areas exposing ihe pabbled layer.
The surfaces must be rendered smooth to facilitate sanitation and to prevent disease hazards.
An exil briefing was conducted with the licensee.
Prepared By:
GLORIA S MCFADDEN, BV M USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Jun-9-2001 41
Received By:
Date:
Title: Jun-08-2011
Page café
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= Animal and Plant Health Inspection Service 20110901580040 inap id
Inspection Report
TRI STATE Z200LGG ICAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site 001
TAI STATE ZOOLOGICAL PARK OF WESTERN MAFIYLAND
12605 MOCRES HOLLOW ADAD
Type: ROUTINE INSPECTION
CUMBERLAND, MD 21502 Pate: Oct-06-2011
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and outdoor housing facilities shall be structurally sound and shall be maintained in
good repair to protect the animals from injury and to contain the animals.
“Lien enclosure: The enclosure lance is a callaction of a wire panels and same chain link tid tageihear and
constructed as follows
The main enclosure fence is constructed of 6 gauge 20'x8" panels with 2x2 openings; 10 gauge high tensile wire with
4x4 openings overlaps the top hall of the panel fenee and 10 gauge chain link fence overlaps al the boltam hall of
the panel fence. The enclosure fence is buried into the ground at least 2 feet into the ground. The chain link fence is




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 13 of 44
attached to horizontal poles at the top and bottom and held together with wire ties. There are vertical metal poles
(1.5° - 2.0" diameter) about 10 feet, to whieh the fencing is attached. The enclosure lance is attached to railroad ties
placed along the bottom of the fence on all sides. Concrete wire, metal clamps, and other gauge wire is used to
attached fancing together or to railroad ties. The fence that makes up the left side of the enclosure pan can be moved
back and forth. The front of the enclosure has a 3 foot kick-in of high tensile (feld fence) wire and barbed wire. The
lion enclosure may not be constructed in a manner that will adequately contain the animal. The primary enclosures
musi ba constructed of such material and of such strangth a6 is aporopriate for the animal.
“White Tiger enclosure: The dividing fence between ihe two tiger enclosures is constructed of high tensile wire and
panel fancing. The high tensile wire is doubled around 4 pole 6' and covered by board fencing. The 5’ panels are
attached vertically with the lower portion af the tence covered with boards. Two stands af hot wire are at the top of the
dividing wall. There is a 3° high platiorm against the dividing fence on bath sides.
The divider fence has no kick-in or overhang. The height from the platform to the top of the dividing fence is 12" tall
Recent experience has shown that an adult tigar can leap over a fence that is 12° in height. This portion of the divider
fenee is not sufficiently tall or constructed in a manner to prevent the animal on either side fram jumping inte the the
next enchosure,
Recently experence has shown that a substantial overhang or kick-in is necessary to contain adult tigers.
Prepared By:
GLORIA 5S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 OcrO7-201 1
Received By:
Date:
Title: Oet7-201 1
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Inspection Report
four strands of barb wire is mat substantial enough to cantain an animal as quick and strong as a tiger. Housing
facilities must be constructed of such maternal and of such strangth aporopriate for the animal contained within, to
protect and contain the animal. Based on whal we Know from the tiger escape in San Francisco and Miami, adult
tigers are strong and quick enough to be able to jump over a fence that is 12’ high that does no have a kick-in or does
not have a kick-in deep or wide enough to resinct (ha animal's abdity to leap out. We can reasonably conclude that
an enclosure that is only 12 feet tall without a significant kick-in (at least 3 feet), and without additional containment
Measures, 15 mot structurally sound enough to contain juvenile or adult tigers.
The divider fence and the outside walls of the enclosure on the right need to have additional containment measures
applied such as increased wall height of the addition of an overhang or kick-in that are substantial enough ta contain
ihe animal.
“Siberian Tiger enclosure: Along the left wall of ihe enclosure, approximately 5° from the floor of the enclosure at the
highest point and ~10° from the overhang, there is a 7" deep ledge. The ledge is wide enough to allow a tiger to gain
fading and therelore doas mat restrict its ability to leap out of (he enclosure. The left wall of the enclosure must have
additional containment measures applied that ane substantial enough to cantain the animals. Modifications to the
enclosure that increased the height of the left enclosure fence are under review,
NOTE: Since the last inspection, a portion of the enclosure was divided off to include a dirt box, The boxes are
SB x~19 eF",
3.131 (a)




                                                                                                                             Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 14 of 44
SANITATION,
Cleaning of enclosures. Excreta shall be removed fram primary enclosures as often as necessary to prevent
contamination of the animals cantained therein and to minimize disease hazards and to reduce odars.
“™Kinkajou: There is a buildup of a brown material on the upper wall near the perch (back of enclosure), Waste
Material should be removed as offen as necessary to minimize disease and to reduce oders. Measures musi be
taken to more readily remove such buildup to minimize odors and disease. NGI corrected by the time of report
Signing.
3.131 ib} REPEAT
SANITATION,
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease hard-
sura@ced pens or runs or by washing all soiled surfaces with 4 detergent solution followed by a sate and etective
disinfectant, or by cleaning all solled surfaces with saturated live steam under pressure.
“White Tiger: Tha cencrete surface of the floor of the outside ancloguré has cracks in the concrete.
Prepared By:
GLORIA 5S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 OcrO7-201 1
Received By:
Date:
Title: Oet7-201 1
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————— Animal and Plant Health Inspection Service 201001580040 Insp id
Inspection Report
“Siberian Tigers (yaung): The concrete surface of the floor of the enclosure has cracks in the concrete.
“Siberian Tigers (olderi: Cen the lett wall of the enclosure, along the boitom of the ladge, the concrate surface is
damaged in same areas exposing the pebbled layer.
The surfaces must be rendered smacth to facilitate sanitation and to prevent disease hazards.
An exit briefing was conducted with the licensee.
3.131 (bo) REPEAT
SANITATION,
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease hard-
Suraced pens or runs or by washing all sailed surfaces with @ detargent solution followed by a safe and eftective
disinfectant, or by cleaning all soiled surfaces with saturated live steam under pressure.
"White Tiger: The cencrete surface of the floor of the auiside anclosurée has cracks in the concrete.
“Siberian Tigers (yaung): The concrete surface of the floor of the enchasure has cracks in ihe concrete.
“Siberian Tigers (older): On the left wall of the enclosure, along the bottom of the ledge, ihe concrete surface is
damaged in same areas axpasing ihe pabbled layer.
The surfaces must be rendered smacth to facilitate sanitation and to prevent disease hazards.
An axil brieling was conducted with ihe licensed.
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:




                                                                                                                       Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 15 of 44
Title: VETERINARY MEDICAL OFFICER Inspector 1048 OcrO7-201 1
Received By:
Date:
Title: Oet7-201 1
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Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: Now(2-2011
CUMBERLAND, MD 21502 ate: Nov-02-20
3.131 (c)
SANITATION.
Housekeeping. Premises (buildings and grounds) shall be kept clean and in good repair in order to protect the
animals trom injury and to facilitate the prescribed husbandry practices sal forth in thes subpart. Accumulations ol
trash shall be placed in designated aneas and cleaned as necessary to protect the health of the animals
*™Mauntain LionwTiger off-exhibit area: There is an accumulation of building material. Material mot used for animals
should not be stored in an animal area, Accumulation of unused equipments should be removed to facilitate cleaning
and the pest contral. Corrected during the inspection.
3.131 (d)




                                                                                                                       Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 16 of 44
SANITATION.
Pest control. A safe and effective program for the control of insects, ectoparasites, and avian and mammalian pests
Shall be established and maintained.
“*S mall Mammal: Many roaches were seen on the viewing window of the off-exhibil entry door for the kinkajou, Ma
roaches were seen crawling on the floor or in cages or food bowls. Pests should be eliminated to prevent
contamination of enclosures and to minimize disease. The building was treated with a pesticide ~ 2months ago but
ihe treatment has mol eliminated tha pests’ An effective program to minimize pests must be established and
maintained to prevent contamination and disease of the animals. Correct November 17, 2011,
An exit briefing was conducted with the owner.
This is a focused inspection to address concerns in a complaint.
Prepared By:
GLORIA S MCFADDEN, BVM WSDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 Novw-02-2011
Received By:
Date:
Title: Nov-02-2011
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Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: Mar-02-2012
CUMBERLAND, MD 21502 ate: Mar-02-20
3.125 {a} REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and outdoor housing facilities shall be structurally sound and shall be maintained in
good repair to protect the animals fram injury and to contain the animals.
“Lion enclosure: The enclosure fence ls a collection of a wire panels and some chain link tied together and
canstructed as follows:
The main enclosure fence is constructed of 6 gauge 20'x8' panels with 2x2 openings; 10 gauge high lensile wire with
4x4 openings overlaps the top half of the panel fence and 10 gauge chain link fence averlaps at the bottom half of the




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 17 of 44
panel tance. The enclosure lance is buried inte the ground at least 2 feet inte the ground. The ¢hain link tance is
attached ta horizontal poles at the top and bottom and held together with wire tles. There are vertical metal poles
(1.5° - 2.0" diameter) about 10 feet, to which the fencing is attached. The anclasure fence is attached to railroad ties
placed along the bottom of the fence on all sides. Concrete wire, metal clamps, and ofher gauge wire is used to
attached fencing together or to railroad ties. The fence that makes up the left side of the enclosure pen can be moved
back and forth. The front af the enclosure has a 3 foot kick-in ol high tensila (eld fence) wire and barbed wire. The
lion enclosure may not be constructed in a manner that will adequately contain the animal, The primary enclosures
must ba constructed of such material and of such stréngth as is aporopriate for the animal.
“White Tiger enclosure: The dividing fence between the two tiger enclosures is constracted of high tensile wire and
panel fencing. The high tensike wire is Gaubled around a pole 6' and covered by board fencing. The 5’ panels are
attached vertically with the lower portion af the tence covered with boards. Two stands af hot wire are at the top of the
dividing wall. There is a 3° high platlonn against the dividing lance on both sides. The divider fence has no kick-in or
overhang. The height from the plationm to the top of the dividing fence is 12° tall. A portion of the enclosure was
divided off to include 4 dirtimulbch box. The boxes are ~GG'x-19 x7".
Recent experience has shown that an adult tiger can leap over a fence that is 12° in height. This portion of the divider
lence is not sufficiently tall or constructed in a manner to prevent the animal on either side fram jumping inte the the
next enclasure, Recently experience has shown that a substantial overhang or kick-in is necessary to contain adult
ligers. four sirands of barb wire is mal substantial andugh lo cantain an animal as quick and slrong 45 a tiger. Housing
Prepared By:
GLORIA 3 MCFADDEN, BV M WSOA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1046 Mar-O7-2012
Received By:
Date:
Title: Mar-07-2012
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Inspection Report
facilities must be constructed of such material and af such strength aporoapriate for ihe animal contained within, to
protect and contain the animal. Based on whal we know from the tiger escape in San Francisco and Miami, adult
tigers are strong and quick enough to be able to jump over a fence that is 12° high that does no have a kick-in or does
not have a kickin deep or wide enough to restrict the animal's ability to leap Gul. We can reasonably conclude that an
enclosure that is only 12 feet tall without a significant kick-in (al least 3 feet), and without additional containnvent
MEéASuUreS, 18 not structurally sound enough to contain juvenile or adult tigers.
The divider fence and the outside walls of the enclosure on the right need to have additional containment measures
apoliad such as increased wall height of the addition of an overhang or kick-in thal are substantial anough to contain
ine animal,
“Siberian Tiger enclosure: Along the left wall of ihe enclosure, approximately 3° from the floor of ihe enclosure at the
highest point and -10" fram the overhang, there is a 7" deep ledge. The ledge is vide enough to allow a tiger to gain
footing and therefore does mat restrict its ability to leap out of the enclosure. The left wall of the enclosure must have
additional containment measures applied that ara substantial enough to contain the animals. A portion of the
enclosure was divided off to include a dirtmulch box. The boxes are ~36'x~19 x7". Modifications to the enclosure that
increased the height of the lett enclosure fence are under review.
3.131 {b) REPEAT
SANITATION.
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease




                                                                                                                             Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 18 of 44
hardsurlaced pens or runs of by washing all soiled surfaces with a déelargent solution followed by a sale and elective
disinfectant, or by cleaning all soiled surfaces with saturated live steam under pressure
“White Tiger: The concrete surface of the flaor of the outside enclosure has cracks in the concrete.
“siberian Tigers (yaung): The concrete surface of the floor of the enchasure has cracks in the concrete.
“Siberian Tigers (olderi: On the left wall af the enclosure, along the bolton of the ledge, the concrete surlace is
damaged in same areas exposing the pebbled layer. The surfaces must be rendered smooth to facilitate sanitation
and to prevent disease hazards.
An exit briefing was conducted with the litensee.
Prepared By:
GLORIA 3 MCFADDEN, BV M WSOA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1046 Mar-O7-2012
Received By:
Date:
Title: Mar-07-2012
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Inspection Report
TRI STATE Z200LGG ICAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site 001
TAI STATE ZOOLOGICAL PARK OF WESTERN MAFIYLAND
12605 MOCRES HOLLOW ADAD
Type: ROUTINE INSPECTION
. |- .
CUMBERLAND, MD 21502 Date: JuH03-2012
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural strength. The facility must be constructed of such material and of such strength as appropriate for the
animals involved. The indoor and outdoor housing facilities shall be structurally sound and shall be maintained in
good repair to protect the animals from injury and to contain the animals.
"White Tiger enclasure: The dividing tance batween the hwo tiger enclosures is constructed of high tensila wire and
panel fencing. The high tensile wire is doubled around a pole 6' and covered by board fencing. The 5' panels are
attached vertically with the lower portion of the fence covered with boards. Two stands of hot wire are at the top of the
dividing wall. Thera is a 3’ high platlerm against the dividing fance on both sides. The divider fenee has no kick-in or




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 19 of 44
overhang. The height from the plationm to the top of the dividing fence is 12° tall. A portion of the enclosure was
divided off to include 4 dirt'imulch box. The boxes are ~GA'x-19 x7".
Recent experience has shown that an adult tiger can leap over a fence that is 12° in height. This portion of the divider
fence is not sufficiently tall ar cons{ructed in & manner to prevent the animal on either side fram jumping inte the tha
next enchosure. Recently experience has shown that a substantial overhang of kick-in is necessary to contain adult
Tigers. four strands of barb wire is mot substantial enough to contain an animal as quick and strong as a tiger. Housing
facilities must be constructed of such material and of such strangih aporapriate for the animal contained within, ta
protect and contain the animal, Based on what we know from the tiger escape in San Franciseo and Miami, adult
tigers are strong and quick enough to be able to jump over a fence that is 12° high that does no have a kick-in or does
nol have a kickin deep of wide enough to restrict the animal's ability to ap oul. We can reasonably conclude that an
enclosure that is only 12 feet tall without a significant kick-in (at least 3 feet), and without additional containment
measures, is mot structurally sound enough to contain juvenile or adult tigers.
The divider fance and the outside walls of ihe enclosure on the right ne@ed to have additional containment measures
applied such as increased wall height or the addition of an overhang or kick-in thal are substantial enough ta contain
the animal,
Prepared By:
GLORIA S MCFADDEN, BV M USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Jul-05-2012
Received By:
Date:
Title: Jul-09-201 2
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Animal and Plant Health Inspection Service
Inspection Report
“Siberian Tiger enclosure: Along the left wall of the enclosure, approximately 5' fram the floor of the enclasure at the
highest point and ~10° fram the overhang, there is a 7" deep ledge. The ledge is. wide anough to allow 4 tiger to gain
footing and therefore does mal restrict its ability to leap out of the enclosure. The left wall of the enclosure must have
additional containment measures applied that are substantial enough to cantain the animals, A portion of the
andioéuré was divided off ta include a4 dirtimuleh box. The boxes are -36'x-19 x?" Modifications to thé enclosure that
increased the height of the left enclosure fence are under review
3.131 (b) REPEAT
SANITATION.
Sanitation of enclosures. Subsequent to the presence of an animal with an infectious or transmissible disease
hardsuraced pens or runs or by washing all soiled surfaces with a detergent solution followed by a sale and etective
disinfectant, or by cleaning all soiled surfaces with saturated live steam under pressure.
"White Tiger: The cencrete surface of the floor of the auiside anclosurée has cracks in the concrete.
“Siberian Tigers (yaung): The concrete surface of the floor of the enchasure has cracks in ihe concrete.
“Siberian Tigers (older): On the left wall of the enclosure, along the bottom of the ledge, ihe concrete surface is
damaged in some areas axposing the pabbled layer. The surfaces must be rendered smooth to facilitate sanitation
and to prevent disease hazards




                                                                                                                             Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 20 of 44
An axil brieling was conducted with ihe licensed.
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Jul-05-2012
Received By:
Date:
Title: Jul-09-201 2
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Inspection Report
TRI STATE 2Q0LCRGIGAL PARK OF WESTERN MARYLAND
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: 14-2012
CUMBERLAND, MD 21502 ate: Sep-14-20
3.131 (b) REPEAT
SANITATION,
Sanitation of enclosures. Pens or nuns using gravel, sand, or dirt, shall be sanitized when necessary as directed by
ihe atlending velannarian.
“The skunk enclosure housing structures are moderately soiled and the ground has an excessive amount of food
waste present. Many flies were present in the enclosure. Enclosures must be cleaned and sanitized. The skunk
enclosure must to be cleaned and sanitized more frequently to prevent the buildup of food waste as a measure to
facilitate the pest coniral program (prevent lhe attraction of pests) and lo prevent disease.
Corrected by the end of the inspection,




                                                                                                                        Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 21 of 44
3.131 (c)
SANITATION.
Housekeeping. Premises (buildings and grounds) shall be kept clean and in good repair in order to protect the
animals trom injury and 16 facilitate (he prescribed husbandry practices sal farih in thes subpart.
“* Fencing: In general, tha board fencing in the petting area is shawing wear. Some of the top support boards ara
warped, a few other boards are detached al one end, and some of the boards are worn from excessive chewing by
the animals. The divider fence for the llama/sheep enclosure is leaning outward.
“White Tiger: On the left side of the off-exhibil, there are two ~3" holes in the concrete flaor
Animal enclosures should be kept in good repair ta contain the animals and facilitate prescribed husbandry practices.
The fancing must be repeirad to keep the animals contained and prevent injury. September 13, 2012
The floor in the concrete must be repaired to facilitate the pest control pragram, standard cleaning and sanitation
program, and to prevent injury. Correct by October 14, 2072,
An exit briefing was conducted with the owner.
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DVM WSDA, APHIS, Animal Gare Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Sep-14-2012
Received By:
Date:
Title: Sep-14-2012
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a Animal and Plant Health Inspection Service 135131025340684 insp id
Inspection Report
Tri State Zoolagical Park OF Western Maryland
12605 Moores Hollaw Road Customer ID: 16730
Cumberland, MD 21502 Certificate: $1-C-0064
Site: O04
TAI STATE 2CeOUOGICAL PARK OF WESTERN MAAYLAND
Type: ROUTINE INSPECTION
Date: Apr2i-2013
3.75 (€)
HOUSING FACILITIES, GENERAL.
Storage. Supplies of food and bedding must be stored in a manner that protects the supplies from spoilage
contamination, and vermin infestation. Open food supplies must be kept in leaakproot containers with tightly fitting lids
to prevent spoilage and contamination. All food must be stored ina manner that prevents contamination and
deterioration of its nutritive value,
“A bag of leaf eater diet was loosely closed and placed on top of an alright food receptacle. The manner iin which
the open bag of food is stored does nat minimize the potential for contamination, The open bag of food must be
stored in a manner, such as an airtight container, to prevent contamination. Carract by April 27, 2073.
3.125 (ay
FACILITIES, GENERAL.




                                                                                                                            Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 22 of 44
The outdoor housing facilities shall be maintained in good repair to protect the animals fram injury
*™“Boocal enclasure: The overhang to protect the animals and shelter structure from water damage is partially
detached, The housing facilities must be kept in good repair to protect the animals and maintain structural strength,
The overhang must be repaired to prevent further damage and to protect the animals tram injury. Gorrect by May 5,
2014,
The exit briefing was conducted with the licensee
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 Jun-18-2013
Received By:
Date:
Title: Jun-18-2013
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Inspection Report
TRISTATE 7CGLOGICAL FAAK OF WESTERN MAAY LAD
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: 21 August 201
CUMBERLAND, MD 21502 ale ugust 2013
3.127 = (9)
FACILITIES, OUTDOOR.
Perimeter fenoe. The fence must be constructed sa that it protects the animals in the facility by restricting
animals and unauihorized persons fram going through itor under it and having contact with the animals in the
facility, and so that it can function as a secondary containment system for the animals in the facility
“perimeter fence along the frant of the property: Chicken wire at the top of the fence in one section is rusty and
detached. A tree close to one section of the fence has grown to a point that some branches are hanging and
pushing down on the barb and chicken wire al the top of the fence.
NOTE: This was corrected at the time ot inspection.




                                                                                                                     Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 23 of 44
™nerimter fence along parking lot: The board fencing is leaning outward.
Fancing should be constructed in a manner thal protect the animals and serves as secondary containment The
fencing needs ta be kept in good repair to facilitate containment of animals and the entry of unauthorized people
and animals. Corract by Saptamber 20, 2013.
This is. a focused inspection of faciltiies and animal care,
An axl brieling was conducted with the owner.
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 23 August 2013
Received By:
Date:
Title: 23 August 2013
Page iof 1
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Inspection Report
TRISTATE 7CGLOGICAL FAAK OF WESTERN MAAY LAD
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: 27 2014
CUMBERLAND, MD 21502 ate: 27 January 20
a7 {a}
SHELTERED HOUSING FACILITIES
“The temperature in the snow macaque building tell below 45 degrees as indicated by frozen water in the
drinking water receplack. An operating healer was present. The ambient ternperature in sheltered buildings
must nat fall below 45 degrees for more than 4 consecutive hours when non-human primates are present.
Sheltered housing must be sufficiently heated to protect the non-human primate trom temperature extremes.
Measures must be taken to ensure the ambient temperature in the shelter housing for the macaques is
sufficiently heated for the health and well-being of the animals.
The inspection had been ongoing for 3 hours at the point in time the shelter facility was inspected,




                                                                                                                    Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 24 of 44
Correct by January 37, 2074
a77 (f}
SHELTERED HOUSING FACILITIES
“The facility is closed at the time of the inspection. The entrance gates, which are part of the perimeter fence,
were open. The inside aniry gale to tha petling 206 aréa was shut bul mol secured ina manner that would
prevent the entry of unauthorized persons. No attendant came to greet us for at least 3 minutes as we stood just
inside the entryway. As we were heading back to ihe parking lot, | heard a noise and turned to find twa
aulhorlzed persons coming fram the food preparation area. The owner was contacted al that time. The
perimeter fence must prevent the entry of unwanted humans and animals for the protection of the non-human
primates al all limes. Measures mus! be taken to ensure the perimeter fence is secure when an attendant is not
present. Gorrect by January 31, 2014,
3.131 (c)
SANITATION,
*“In the food storage room, there were open bags of feed and an excessive amount of feed spilled on the floor
and shelves. Buildings shall be kept clean lo pravent the harborage and allraction of pasts and to facilitate
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MOFADDEN, 0 VM USDA, APHIS, Animal Gare Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 30 January 2014
Received By:
Date:
Title: 30 January 2014
Page lof 2
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USD A United States Department of Agriculture
aa Animal and Plant Health Inspection Service #71414413956505 — insp_id
Inspection Report
prescribed husbandry practices; i.¢, cleaning, sanitation, and pest contral, Feed for all species af animals must
be slored in a manner thal prevents the altraction of pests and the loed storage room mainalained ina manner
that facilitates prescribed hushandry practices. Correct by January 31, 2014
An exit briefing was conducted with the owner.
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 30 January 2014
Received By:
Date:
Title: 30 January 2014
Page Zaft 2
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USDA United States Department of Agriculture
=| Animal and Plant Health Inspection Service 119940815446736 — insp_id
Inspection Report
TRISTATE 7CGLOGICAL FAAK OF WESTERN MAAY LAD
Customer ID: 15730
Certificate: 51-C-0064
Site: 001
TRISTATE 7CLOGICAL PARK OF WESTERN MARYLAND
12605 MOORES HOLLOW ADAD
Type: ROUTINE INSPECTION
Date: 24 April 2014
CUMBERLAND, MD 21502 ate: 24 April 20
3.131 {a}
SANITATION,
"The litter pan for one of the kinkajous had a buildup of food, excreta, urine, and debris. Excreta and food
wWasle should be removed from the primary enclosure as olan as necessary to prevent conlamination, minimize
disease, and reduce odors. The litter pan must be removed and cleaned, Additonally, a cleaning schedule must
be astablished to ensure that axcrata and debris does not build-up for the overall healih and well-being of the
animals. Gorrect by April 26, 2014
An exit briefing was conducted with the owner,
GLORIA MCFADDEN, D ¥ M




                                                                                                                  Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 26 of 44
Prepared By:
GLORIA 3 MCFADDEN, BVM WSD4, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1046 24 April 2014
Received By:
Date:
Title: 24 April 2014
ahittial_wrelfstefdowhloads /IR_Explanation.p df
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               Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 27 of 44                              GMCFADDEN
                                         United States Department of Agriculture
                                        Animal and Plant Health Inspection Service               329141957090458 Insp_id

                                                  Inspection Report


 Tri State Zoological Park Of Western Maryland                  Customer ID:      15730

 12605 Moores Hollow Road                                          Certificate:   51-C-0064
 Cumberland, MD 21502                                                     Site:   001
                                                                          TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND



                                                                        Type:     ROUTINE INSPECTION
                                                                         Date:    06-NOV-2014

 3.81(c)(4)
 ENVIRONMENT ENHANCEMENT TO PROMOTE PSYCHOLOGICAL WELL-BEING.
 ***The marmost is housed in a room with no other animals and is unable to hear or see other non-human primates.
 There is no environmental enrichment plan for the marmoset. A plan for environmental enrichment must be
 developed, documented, and followed to promote the psychological well-being of non-human primates. An
 environmental enrichment plan must be developed with the attending veterinarian to include provisions to address
 the special needs of a single-housed marmoset that does not haave the ability to hear and see other non-human
 primates.Correct by Novermber 21, 2014



 3.125(a)
 FACILITIES, GENERAL.
 ***The board fencing for the petting zoo animals is excessively worn and portions of the fence are leaning. One
 section of the goat/pig/horse pen has a partially broken post. Primary enclosure fencing should be structurally sound
 to contain the animals. The board fencing must be repaired as needed or replaced to ensure containment of the
 petting zoo animals. Correct by December 30, 2014. NOTE: A maintenance plan has been developed.


 3.127(d)             REPEAT
 FACILITIES, OUTDOOR.
 ***The facility is closed at the time of the inspection. Three persons gained entry into the zoo and was able to walk
 to
 the back of the property before being noticed. The entrance gates, which are part of the perimeter fence, were
 open. The inside entry gate to the petting zoo area was shut. The perimeter fence must prevent the entry of
 unwanted humans for the protection of the public and animals at all times. Measures must be taken to ensure the
 perimeter fence is secure when an attendant is not readily available in any area of the zoo.


 3.131(c)
 SANITATION.


      Prepared By: GLORIA MCFADDEN, D V M                 USDA, APHIS, Animal Care                  Date:
                                                                                                    02-DEC-2014
               Title: VETERINARY MEDICAL OFFICER 1048



  Received by Title: 7012 3050 0001 0368 2950                                                       Date:
                                                                                                    02-DEC-2014
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                Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 28 of 44                             GMCFADDEN
                                            United States Department of Agriculture
                                           Animal and Plant Health Inspection Service            329141957090458 Insp_id

                                                    Inspection Report



 ***The outdoor rug in the kitchen has been recently cleaned. However, the fibers of the carpet are sufficiently worn
 that it can no longer be cleaned and sanitized effectively. Surfaces should be cleaned as needed to prevent
 excessive soiling and must be sanitizable. The carpet should be replaced to facilitate the cleaning and sanitization
 practices in the kitchen area. Corrected: Carpet replaced at the time of inspection.


 ***A portion of the primary perimeter fence (there is a secondary perimeter fence) for the young tigers is movable.
 Fencing should be secured in a manner that ensures it function as primary containment should a tiger escape.
 Measures should be taken to ensure the fence is sufficiently secure to facilitate containment of the animals in the
 event of an escape. Correct By November 14, 2014



 An exit briefing was conducted with the owner.




 Additional Inspectors
 Hackworth Doris, Veterinary Medical Officer




      Prepared By: GLORIA MCFADDEN, D V M                  USDA, APHIS, Animal Care                Date:
                                                                                                   02-DEC-2014
                Title: VETERINARY MEDICAL OFFICER 1048



  Received by Title: 7012 3050 0001 0368 2950                                                      Date:
                                                                                                   02-DEC-2014
Page 2 of 2
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a Animal and Plant Health Inspection Service GI150606120867 Insp id
Inspection Report
Tri State Zoolagical Park OF Western Maryland
12605 Moores Hollaw Road Customer ID: 16730
Cumberland, MD 21502 Certificate: $1-C-0064
Site: O04
TAI STATE 2CeOUOGICAL PARK OF WESTERN MAAYLAND
Type: ROUTINE INSPECTION
Date: Mar-O4-2075
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural strength
“* Tiger enclosure (9 tigers): The wood portion af the top of the plaiform enclosure / bare lence is crumbling. The
Tence Serves aS a public Darner as well as provides ihe appropriate height for an open top bger enclosure. The
attachment of the wood to ihe wire panel fencing provides strength to the enclosure fence. The wood must be
replaced and maintained to ensure the integrity of the tance is adequate for species contained within the anclosura.
“The board fencing for the petting zoo animals (4 goats, 8 pigs, 1 sheep, 1 alpaca) are excessively worn and
portions of the lance are leaning. The fence post noted on a previous inspection has been repaired but the fencing in
general remains In disrepair. The primary enclosure fence must be structurally sound and in good repair to contain
the animals. The board fencing must be repaired as needed of replaced to ensure coniainment of the petting zoo




                                                                                                                        Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 29 of 44
annals.
3.125 (ah
FACILITIES, GENERAL.
Waste Disposal
“Produce waste was on the ground outside the enclosure housing 8 pigs. Tha produce waste may attract rodent
pests. Provision must be made for the removal and disposal of food waste to minimize vermin infestation, odors and
disease hazards. Correct by March 5, 2015,
3.127 [c)
FACILITIES, OUTDOOR.
Drainage
"The enclosure housing 2 pigs is axcessively muddy with puddles of water by tha water raceptacila. The anclosure
housing 6 pigs has a pool of standing walter araund ihe water recepiacle. The pigs should not have to walk through
mud or wade through muddy water ta reach the water receptacle, Standing water and/or mud may cause foot
problems in the pigs, as well as excessive chilling in cold water. Thea water receptacle must not be surrounded by
mud of standing water.
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DV M USDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1048 Mar-05-2015
Received By:
Date:
Title: Mar-O4-2015
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Inspection Report
"The alpaca was locked in a siallin the shelter with standing water and mud. The licensee stated the alpaca was
Kept there while the enclosure was cleaned. The APHIS officials observed the alpaca locked in the stall around 10:30
a.m, and it was still in the stall at around 1:30 p.m, The shelter should nat have standing water and/or mud. Standing
in water and mud may cause foot problems as well as excessive chilling in cold weather. Animals rust not be kept
confined ln areas with standing water and mud. Shelters must be clean and dry for the health of the animals
A suitable method must be provided to rapidly eliminala excess waler for ihe health and camtert of the animals.
Correct by March 6, 2015.
3.131 la}
SANITATION.
Cleaning of enclosures
"The enclosure housing the coati has an excessive amount of dried fecas on the tap front platform. The lower front
lation had a Burkdup ot food wastes and the treat CUP Was Soeled. Feces and food waste present a disease hazard
to the animal, Feces must be removed from enclosures to prevent buildup and ta ensure an animal has a clean area
to res. Surfaces must be hapt free of a buildup of food wastes. Gorract by Manch 6, 2015.
3.131 (d)
SANITATION,
Pest Control
“™ Rodent feces were present on the floor in the fead roam. An unset rodant trap was located in one corner of the




                                                                                                                         Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 30 of 44
room. Pest contra measures, such as régular remeaval of Snilled feed and the setiing of traps, must be manntained to
prevent the attraction and harborage of rodents. Effective pest control measures must be taken to prevent the
attraction and entry of recdants in ta the food storage ares. GCarrect by March 11, 2075.
An exit briefing was conducted with the owner; Gloria McFadden, VMO; and Mary Geib, VIM
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DV M USDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1048 Mar-05-2015
Received By:
Date:
Title: Mar-O4-2015
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USDA United States Department of Agriculture cuinrannen
a Animal and Plant Health Inspection Service 147150223970642 Insp id
Inspection Report
Tri State Zoolagical Park OF Western Maryland
12605 Moores Hollaw Road Customer ID: 16730
Cumberland, MD 21502 Certificate: $1-C-0064
Site: O04
TAI STATE 2CeOUOGICAL PARK OF WESTERN MAAYLAND
Type: ROUTINE INSPECTION
Date: May-27-2015
3.78 {d)
OUTDOOR HOUSING FACILITIES,
Perimeter fence: The gate of the perimeter fence into the outdoor access anea for ihe squirrel monkey does not close
completely, leaving the gate ajar and creating a gap. The gate must be rehung or replaced so it can close securely to
maintain the structural integrity of the perimeter fence to protect the monkey by restricting unauthorized humans and
animals from going through it and having contact with the monkey. Correct by Jume 3, 2015,
3.84 (C)
CLEANING, SANITIZATION, HOUSEKEEPING, AND PEST CONTROL.
Housekeseping for premises: Lemur and Macaques
“A food storage container, transport carrier, unplugged heater, and fire extinguishers in the oH-axhibit storage area
af the indoor housing facilities are excessively dirty. There is a buildup of debris in the comers of the floor, Dried bird




                                                                                                                              Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 31 of 44
feces are present on the heater. The fire extinguishers are not secured ta a surface.
Premises associated with the animal areas should be kept free of an accumulation of debris and dirt to facilitate
general husbandry practices. The fire extinguishers should be stored in 4 manner that prevents potential injury to the
animal. All surfaces within the off-axhibil support areas must be kapl clean on a régular basis and ams should be
stored properly to ensure they are in working order when needed. Correct by May 30, 2015
“Aloo, a large hole is present in the wood threshold for antry into the lernur off-axhibit area
Facilities should be kept in good repair to facilitate Geaning and eliminate areas for the pests to live and hide and ta
eliminate the pooling of water which will atbract pests and vermin. The threshold must be replaced to assist in proper
Geaning and to facilitate the pest control program. Gorrect by May 31, 2015
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DV M USDA, APHIS, Animal Care Date:
Tithe: VETERINARY MEDICAL OFFICER Inspector 1048 May-28-2015
Received By:
Date:
Title: May-28-2015
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= Animal and Plant Health Inspection Service 1471502239370682 insp_id
Inspection Report
3.125 (a) REPEAT
FACILITIES, GENERAL.
Structural Strength
The board fencing for the petting 200 animals (5 goats, 6 pigs, 1 sheep, 1 alpaca) are excessively worn and
portions of the fence are leaning. The wire fencing that is attached to the board fencing, is damaged in many areas
for the pigs and goat pens. The damage has resulted in the exposure of sharp wires that could potentially injure an
animal. Some sections of the fence are also leaning and wire panels detached from the wood lance in certain
areas. The primary enclosure fenoe for the petting 200 animals must be structurally sound and maintained in good
repair to contain the animals and prevent injury. The board fencing and wire fencing must be repaired as needed or
replaced to protect tha animals from injury, to ensure the containment of the petting 700 animals, and lo prevent the
entry af unwanted animals
3.127 {d)}
FACILITIES, OUTDOOR,
Perimeter fence: The following areas of perimeter fence must be repaired or maintained,
1) A section of the wood perimeter fence along the front of the zoo ls missing wood vertical boards and Is not secured
to posts, This section of the fence must be repaired or replaced
2) The wire perimeter fence around the puma enclosure has a broken fence post an the right side thal has fallen
inward toward the enctosure dragging the wire fencing down, The wire fence is no bonger at least 3 feet in height.




                                                                                                                         Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 32 of 44
The fenes post must bea repaired or replaced to maintain the perimeter fence at least 8 feet in height.
3) The wood panmeter fence by the gate between the puma and tiger area has loose boards that must be reattached
lo maintain the structural strength of the perimeter fence.
4) The wire perimeter fence by the sarval enclosure has a gap between the wire mesh and the wire panel fencing.
The gap must be chased to prevent animals ar people from going through the perimeter fence.
5) There is @ large gap under the pedestrian gate of the perimeter fence into the back field area. The gap must be
closed to prevent animals from going under the fence
6) A post for the perimeter fence is leaning away from the back of a building (mear the capuchin enclosure) creating a
gap. The fence post must be secured and the gap eliminated to prevent animals or people fram going through the
gap.
7) The back wire perimeter fence (opposite the creek) has areas thal are overgrown with vines and vegetation. The
weight of the vegetation is banding the wire fencing down and making it dificult to see and avaluate the integrity of
the fence. The fence must be maintained at least 6 feet in height and be visible to evaluate its structural integrity.
4) The facility removed part of the back area of the wire perimeter tance to work on a vehicle path. The
GLORIA MCFADDEN, D ¥ M
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 May-28-2015
Received By:
Date:
Tithe: May-26-2015
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Inspection Report
back wire perimeter fence (opposite the creek) ends by the bobcat enclosure, There is no perimeter fence behind the
artic fox enclosure. The perimeter fence must be rebuilt in this araa to fully enclose all the animal enclosures.
The facility must establish and maintain a program to keep the perimeter fence in good repair ta restrict animals and
unauthorized parsans fram going through it of under it and having Gontact with the animals and 3 that the panmeter
fence can funcion as a secondary containment system for the animals housed within the facility. Correct items 1-6
by June 3, 2015, Correct items 7 - 8 by June 10, 2015.
3.131 (a) REPEAT
SANITATION.
Cleaning of enclosures
"The floars. in many of the off exhibit aréas have sunaces that ara in nead of a ganeral cleaning and removal of
debris and excreta. Specitically, the enclosure housing the coall has an excessive amount of dried faces on the top
of the carpeted platform. The alder tiger enclosure has feces and debris that have built up in between the two board
fences al the front of the of-axhibit enclosure inside the shelter.
Feces and food waste present a disease hazard to the animals and attract pesis. Surfaces must be free of a buildup
of axcrata, food waste, and debris to minimize disease hazards, odors, and the attraction of pasts. Faces and debris
must be removed fram enchosunes in a manner and at a frequency that prevents buildup to ensure an animal has a
clean area to rast and to facilitate effective pest coniral.
3.131 (Cc)




                                                                                                                         Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 33 of 44
SANITATION.
“The new guinea singing dog outdoor enclosure and the area in front of the enclosure has an overgrowth of a
weeds. A weed with vary large leaves takes up 44 of the anclosura space which allows for the potential harborage of
rodents and other unwanted pests. The high vegetation covering the ground in the ouideor enclecure prevents
seeing feces on the ground and makes cleaning the enclosure very difficult. Also, the singing dog does not appear ta
Want to Gomme inte the ouidoor enclosure, choosing to stay off-axhibit and stand al the door leading to the outside
yard. The weeds must to be removed to allow the animal full access to the outdoor enclosure for its overall wall-
being, to clean the enclosure, and to facilitate and effectively control potential pests. Additionally, a plan must be
developed to minimize or pravent the regrowth of tha weeds. Gorract by May 30, 2075
This inspection was conducted on May 27, 2075. An exit briefing was conducted on May 28, 2075 with the owner;
Gloria McFadden, VMO; and Mary Geib, VM&
End of Report.
ea) ce
Prepared By:
GLORIA S MCFADDEN, DVM USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 May-28-2015
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Tithe: May-26-2015
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Prepared By:
GLORIA S MCFADDEN, DV M USDA, APHIS, Animal Care Date:
Title: VETERINARY MEDICAL OFFICER Inspector 1048 May-28-2015
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               Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 35 of 44                                  GMCFADDEN
                                          United States Department of Agriculture
                                         Animal and Plant Health Inspection Service               274150511090737 Insp_id

                                                   Inspection Report


 Tri State Zoological Park Of Western Maryland                   Customer ID:      15730

 12605 Moores Hollow Road                                           Certificate:   51-C-0064
 Cumberland, MD 21502                                                      Site:   001
                                                                           TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND



                                                                         Type:     ROUTINE INSPECTION
                                                                          Date:    24-SEP-2015

 3.125(a)              REPEAT
 FACILITIES, GENERAL.
 Strutural Strength
 *** One pig and one sheep have access to a pen in the petting zoo which has broken wires on the fencing near the
 ground. The animals may be injured by the wire ends protruding into the enclosure. There is also chicken wire
 detaching from the wire and wood fencing that may cause animals to get caught in the loose wire or to be injured
 from the wire ends.


 ***The petting zoo enclosure housing 4 goats and one alpaca has broken wires on the fencing near the ground by
 the circular trash receptacle. The animals may be injured by the wire ends protruding into the enclosure.


 ***The top of the wood ramp to the elevated resting structure for the wild cat is rotting. There are holes in the wood,
 wood splinters, and nail heads protruding up out of the wood. The animal may be injured by the damaged wood or
 nail heads.


 Once the APHIS officials identified the condition of the fencing in the petting zoo to the licensee, the licensee had
 facility personnel repair the fencing. The wood ramp must still be repaired to protect the animal from injury.


 Facilities must be constructed of such material and of such strength as appropriate for the animals involved.
 Housing facilities must be structurally sound and maintained in good repair to protect the animals from injury.


 3.130
 WATERING.
 ***The water bowls for the skunk, porcupine, and wolf have a buildup of a dark brown / green material on the inside
 surface of the water receptacles. Water receptacles must be kept clean and sanitary to prevent contamination of the
 drinking water. Water receptacles must be cleaned at a frequency and in a manner that prevents the build-up of
 debris on the surface of the water containers to ensure the animals have potable water to drink. Correct by
 September 26, 2015.




      Prepared By: GLORIA MCFADDEN, D V M                 USDA, APHIS, Animal Care                   Date:
                                                                                                     01-OCT-2015
               Title: VETERINARY MEDICAL OFFICER 1048



  Received by Title: OWNER                                                                           Date:
                                                                                                     01-OCT-2015
Page 1 of 2
                Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 36 of 44                            GMCFADDEN
                                          United States Department of Agriculture
                                         Animal and Plant Health Inspection Service             274150511090737 Insp_id

                                                   Inspection Report



 3.131(c)                REPEAT
 SANITATION.
 Housekeeping
 ***Old feces from turkeys and peacocks are present around the circular trash receptacle near the petting zoo
 enclosure for the llama and goats. Also in the petting zoo area, an excessive amount of tortoise and bird feces is
 present in the corner in front of the barrier fence near the opossum and new guinea singing dog enclosures. At the
 time of inspection, a pig and a sheep had access to the petting zoo area where the excessive amounts of
 bird/tortoise excreta had accumulated. Grounds should be kept free of an excessive amount of excreta and debris
 to facilitate cleaning practices, to minimize pests, and for the health of the animals.


 This inspection was conducted on September 24, 2015. An exit briefing was conducted on September 25, 2015 with
 the facility owner; Gloria McFadden,VMO; and Mary Geib, VMO.




 Additional Inspectors
 Geib Mary, Veterinary Medical Officer




      Prepared By: GLORIA MCFADDEN, D V M                  USDA, APHIS, Animal Care                Date:
                                                                                                   01-OCT-2015
                Title: VETERINARY MEDICAL OFFICER 1048



  Received by Title: OWNER                                                                         Date:
                                                                                                   01-OCT-2015
Page 2 of 2
United States Department of Agriculture                                    GMCFADDEN
Animal and Plant Health Inspection Service                360151332080212    insp_id
Inspection Report
Tri State Zoological Park Of Western Maryland
12605 Moores Hollow Road                                             Customer ID: 15730
Cumberland, MD 21502                                                   Certificate: 51-C-0064
Site: 001
TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND
Type: ROUTINE INSPECTION
Date: Dec-02-2015
3.129          (a)
FEEDING.
***There are open cardboard boxes with fruits and vegetables in them both in the kitchen and outside. It was a rainy
day and the cats were noted resting in the boxes of food and some of the boxes outside were uncovered. Food
should be kept free from contamination. Cats that roam free may carry fomites or disease that could potentially
contaminate food. Food exposed to the inclement weather can lose their nutrient value or spoil. A method to prevent
contamination of food from the cats and inclement weather must be established. Correct December 5, 2015.
An exit briefing was conducted with the owner.
GLORIA MCFADDEN, D V M
Prepared By:
GLORIA S MCFADDEN, D V M         USDA, APHIS, Animal Care                    Date:




                                                                                                                       Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 37 of 44
Title:           VETERINARY MEDICAL OFFICER Inspector 1048                                    Jan-14-2016
Received By:
BOB CANDY(b)(6),    (b)(7)(c)                                                Date:
Title:           OWNER                                                                        Dec-02-2015
Page 1 of 1
GMCFADDEN
United States Department of Agriculture
Animal and Plant Health Inspection Service                  2016082567953659 Insp_id
Inspection Report
Tri State Zoological Park Of Western Maryland                    Customer ID:        15730
12605 Moores Hollow Road                                             Certificate:    51-C-0064
Cumberland, MD 21502                                                        Site:    001
TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND
Type:      FOCUSED INSPECTION
Date:     06-OCT-2016
2.40(b)(2)        DIRECT
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
***The 13 year old male lion is not in good health or body condition. He appears thin and the pelvic bones are
prominent. His coat is rough and has turned a dark brown. And, the mane has thinned as would be seen on a one
year old lion. There is also a watery discharge around the lion's eyes.
A dose of testosterone and a course of antibiotic has been administered per the veterinarian's instruction. However,
the condition of the animal is not much improved. Although the lion has been under a veterinarians's care, a
diagnosis has not been determined. An illness left undiagnosed can lead to suffering of the animal. An examination
by a veterinarian with exotic cat experience is needed to determine the cause of the lion's weight loss and
generalized unthriftiness to determine the appropriate options for treating the lion's condition.
Correct by October 10, 2016




                                                                                                                       Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 38 of 44
This is a focused inspection to check the care and welfare of a white pig and the male lion.
This inspection and exit interview were conducted with owner.
Prepared By:             GLORIA MCFADDEN
Date:
GLORIA MCFADDEN               USDA, APHIS, Animal Care
07-OCT-2016
Title:     VETERINARY MEDICAL OFFICER 1048
Received By:
BOB CANDY
(b)(6), (b)(7)(c)
Date:
Title:     OWNER                                                                         07-OCT-2016
Page1 1
Page of of
2     2
United States Department of Agriculture     Customer:            15730
Animal and Plant Health Inspection Service    Inspection Date:    06-OCT-16
Animal Inspected at Last Inspection
Cust No     Cert No      Site       Site Name                                 Inspection
15730       51-C-0064    001        TRI STATE ZOOLOGICAL PARK                 06-OCT-16
OF WESTERN MARYLAND
Count     Species
000001    Common squirrel monkey
000001    Brown pale-fronted capuchin
000001    Lion
000001    Pig
000004    Total




                                                                                           Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 39 of 44
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                                          United States Department of Agriculture
                                         Animal and Plant Health Inspection Service               2016082568879227 Insp_id

                                                   Inspection Report


 Tri State Zoological Park Of Western Maryland                   Customer ID:      15730

 12605 Moores Hollow Road                                           Certificate:   51-C-0064
 Cumberland, MD 21502                                                      Site:   001
                                                                           TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND



                                                                         Type:     ROUTINE INSPECTION
                                                                          Date:    05-OCT-2017

 3.127(b)
 FACILITIES, OUTDOOR.
 ***Porcupine Enclosure: The nest box flap only provides coverage for half of the opening to the nest box. The flap
 also has jagged edges. The flap provides additional protection from the elements. Structures must be maintained in
 good repair to facilitate its purpose for use and to minimize the risk of injury. The flap must be replaced. Corrected
 at the time of inspection.



 This inspection and exit interview were conducted with the owner.




      Prepared By: MCFADDEN GLORIA, D V M                 USDA, APHIS, Animal Care                   Date:
                                                                                                     10-OCT-2017
               Title: VETERINARY MEDICAL OFFICER 1048



  Received by Title: OWNER                                                                           Date:
                                                                                                     10-OCT-2017
Page 1 of 1
                Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 41 of 44
                                         United States Department of Agriculture                           GMCFADDEN
                                        Animal and Plant Health Inspection Service              2016090000509955 Insp_id

                                                  Inspection Report

TRI STATE ZOOLOGICAL PARK OF WESTERN MARYLAND                                   Customer ID: 15730
12605 MOORES HOLLOW ROAD                                                          Certificate: 51-C-0064
CUMBERLAND, MD 21502
                                                                                         Site: 001
                                                                                              TRI STATE ZOOLOGICAL PARK
                                                                                              OF WESTERN MARYLAND



                                                                                        Type: ROUTINE INSPECTION
                                                                                        Date: 08-JAN-2021

3.127(d)
Facilities, outdoor.
The new back gate, which is a section of the property perimeter fence, is only 5 feet in height. The space between the

rungs in the gate range between 7-9 inches and a 9 inch gap exists between the ground and the bottom of the left panel

of the gate. The gap and the spacing between rungs are wide enough for unwanted animals to easily pass through or

under the gate. The height of the fence is insufficient to keep the public from entering the property during times when the

zoo is closed. The perimeter fences must be at least six feet and designed in a manner that prevents people and animals

from going under it or through it and having contact with the animals during non-exhibition times. Modifications must be

made to the gate that would increase the height to six (6) feet and reduce the size of the spacing between rungs and the

gap to restrict the entry of unwanted animals and unauthorized persons. Correct by January 22, 2021


3.81
Environment enhancement to promote psychological well-being.
An appropriate environmental enhancement plan is being followed as directed by a former attending veterinarian.

However, the current plan has not been reviewed and directed by the new attending veterinarian. The facility attending

veterinarian must be a part of the development of the plan to ensure all social and psychological needs of the squirrel

monkey and the capuchin are met. An environment enhancement plan, to include the environmental enrichment and




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                                                            USDA, APHIS, Animal Care                 15-JAN-2021
               Title:   VETERINARY MEDICAL
                        OFFICER


 Received by Title:     Licensee                                                                     Date:
                                                                                                     15-JAN-2021
                                                        Page 1 of 2
                Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 42 of 44
                                        United States Department of Agriculture                         GMCFADDEN
                                       Animal and Plant Health Inspection Service            2016090000509955 Insp_id

                                                 Inspection Report

special considerations for the single housed non-human primates, must be directed by the current attending veterinarian

and documented. Correct by January 29, 2021.




This inspection and exit interview were conducted with the licensee.



End Section




      Prepared By:      GLORIA MCFADDEN                                                          Date:
                                                           USDA, APHIS, Animal Care              15-JAN-2021
               Title:   VETERINARY MEDICAL
                        OFFICER


 Received by Title:     Licensee                                                                 Date:
                                                                                                 15-JAN-2021
                                                       Page 2 of 2
United States Department of Agriculture                            GMCFADDEN
Animal and Plant Health Inspection Service               2016090000703016 Insp_id
Inspection Report
Tri State Zoological Park Of Western Maryland                                     Customer ID: 15730
12605 Moores Hollow Road                                                            Certificate: 51-C-0064
CUMBERLAND, MD 21502
Site: 001
TRI STATE ZOOLOGICAL PARK
OF WESTERN MARYLAND
Type: ROUTINE INSPECTION
Date: 31-AUG-2021
3.84(d)
Cleaning, sanitization, housekeeping, and pest control.
Capuchin enclosure: Ants were seen crawling on the platform and on which the food receptacle with fruit was placed. The
food was provided earlier than usual, and the capuchin was not interested in eating at the time it was presented. The food
was attracting ants to the fruit and food receptacle. The husbandry practice allowed for the attraction of pests. Alternative
method(s) for providing fresh fruit at must be implemented to prevent the attraction of pests, such as ants, and to
minimize any risk of contamination. Correct by September 18, 2021
3.131(d)
Sanitation.
Coatimundi enclosure: A rat was seen peeking through one of the cider blocks that supports the shelter structure at the




                                                                                                                                Case 1:20-cv-01225-PX Document 71-16 Filed 12/20/21 Page 43 of 44
entrance. There was also an overgrowth of brush within the outdoor portion of the enclosure that would provide safe
harbor for rodents. The current pest control measures are not effective to prevent the attraction and harborage of the
rodents. Correct September 30, 2021.
This inspection and exit interview were conducted with the licensee.
Prepared By:       GLORIA MCFADDEN                                                              Date:
USDA, APHIS, Animal Care                   14-SEP-2021
Title:    VETERINARY MEDICAL
OFFICER
Received by Title:       Licensee                                                                     Date:
14-SEP-2021
Page 1 of 2
United States Department of Agriculture                GMCFADDEN
Animal and Plant Health Inspection Service   2016090000703016 Insp_id
Inspection Report
Additional Inspectors:
Jeffrey Shepherd, SUPERVISORY ANIMAL CARE SPECIALISTEnd Section
Prepared By:       GLORIA MCFADDEN                                      Date:
USDA, APHIS, Animal Care       14-SEP-2021
Title:    VETERINARY MEDICAL
OFFICER
Received by Title:       Licensee                                               Date:
14-SEP-2021
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